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10                            UNITED STATES DISTRICT COURT
11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                No. CR 13-106(A)-DOC

13               Plaintiff,                    UNITED STATES’ OPPOSITION TO
                                               DEFENDANT’S SECOND MOTION FOR A
14                     v.                      NEW TRIAL; DECLARATION OF JOHN
                                               CICCONE
15   MONGOL NATION,
       An unincorporated association,          Date: February 28, 2022
16                                             Time: 1:30 p.m.
                 Defendant.                    Location:    Courtroom of the
17                                                       Hon. David O. Carter

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1     I.    INTRODUCTION

2           On December 13, 2018, after 24 days of trial, testimony from

3     dozens of witnesses, more than 200 exhibits that included weapons,

4     illegal narcotics, and crime scene audio and video recordings

5     depicting numerous armed attacks, shootings, stabbings, narcotics

6     transactions, murders and attacks on police, the jury found defendant

7     Mongol Nation guilty of racketeering and conspiracy to commit

8     racketeering, in violation of Title 18 of the United States Code,

9     Sections 1962(c) and 1962(d). CR 310, 311.         The Court denied
10    defendant’s first new trial motion on February 28, 2019, and
11    defendant now attempts to bring a second motion, in which it claims
12    to rely on newly discovered evidence but in fact produces none.
13          The motion is supported by neither admissible evidence nor
14    competent declarations.      As such, it does not present newly
15    discovered evidence, much less demonstrate how that evidence would
16    meet the elements required for a new trial under Rule 33(b)(1).
17    Replete with false and unsupported allegations and speculation, the
18    Motion, under any construction, fails to articulate any basis to

19    overcome or set aside the jury verdicts in this case.           It should be

20    stricken or denied.

21    II.   BACKGROUND

22          The background for this case is set f]orth in the United States’

23    Trial Brief and Opposition to Defendant’s Motion for Judgment of

24    Acquittal.    CR 186, 363.    In sum, the Ninth Circuit remanded the

25    matter on July 11, 2017, after the Court dismissed the original

26    indictment on September 16, 2015.         CR 114, 127, 128.    The Grand Jury

27    then returned the First Superseding Indictment (“FSI”) on May 17,

28    2018.   See First Superseding Indictment (CR 169).         The FSI charged

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1     defendant with racketeering in violation of Title 18 of the United

2     States Code, Section 1962(c), and conspiracy to commit racketeering

3     offenses in violation of Title 18 of the United States Code, Section

4     1962(d).    The FSI also included forfeiture allegations.         Id.

5          Trial began on October 30, 2018 and continued through December

6     13, 2018, when the jury returned guilty verdicts on both counts.                CR

7     310, 311.    During the proceedings, the government presented testimony

8     from approximately 28 witnesses, including undercover Special Agents

9     of the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF),
10    local law enforcement officers, and other percipient witnesses to the
11    charged offenses.     Defendant identified some 50 witnesses for trial
12    and presented testimony from Mongols members, retired ATF agents, and
13    persons it designated as expert witnesses.
14         On December 27, 2018, after the jury returned convictions on
15    both counts, defendant brought a motion for a new trial or, in the
16    alternative, for a mistrial.       CR 324.   On January 11, 2019, the jury
17    returned its findings on the forfeiture of several categories of
18    property, pursuant to the conviction on Count Two of the FSI.            CR

19    350, 353.    The Court denied defendant’s previous new trial motion on

20    February 28, 2019.

21         Defendant filed its Notice of Appeal on May 29, 2019.            CA No.

22    19-50176 (CR 440, 441).      The United States filed its Notice of Appeal

23    on June 13, 2019.     CA 19-50190 (CR 453, 454).      The appeals are

24    pending in the Ninth Circuit.

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1        III. ARGUMENT

2                          DEFENDANT HAS NOT MET ITS BURDEN

3                         FOR A NEW TRIAL UNDER RULE 33(b)(1)

4          Rule 33(a) of the Federal Rules of Criminal Procedure provides

5     that “[u]pon the defendant’s motion, the court may vacate any

6     judgment and grant a new trial if the interest of justice so

7     requires.”    Fed. R. Crim. Proc. 33(a). 1     The burden to justify a new

8     trial rests squarely on the defendant.        United States v. Endicott,

9     869 F.2d 452, 454 (9th Cir. 1989).        The “motion for new trial is
10    directed to the discretion of the judge.”         United States v. Pimentel,
11    654 F.2d 538, 545 (9th Cir. 1981); United States v. Mack, 362 F.3d
12    597, 600 (9th Cir. 2004) (denial of motion for a new trial reviewed
13    for abuse of discretion); United States v. George, 420 F.3d 991, 1000
14    (9th Cir. 2005) (new trial motion denied under Rule 33(b)(1) where
15    newly discovered evidence was not material or merely impeachment
16    evidence); citing, United States v. Kulczyk, 931 F.2d 542, 549 (9th
17    Cir. 1991) (holding “evidence that would merely impeach a witness
18    cannot support a motion for new trial.”).

19         The law of the Ninth Circuit requires that a defendant seeking a

20    new trial on the ground of newly discovered evidence requires

21    defendant to show: (1) evidence that is newly discovered; (2) that

22    the failure to discover the alleged evidence sooner was not due to a

23    lack of diligence; (3) the evidence was material to trial issues; (4)

24    the evidence was not cumulative or merely impeaching; and (5) a new

25    trial, if granted, would probably result in acquittal.           United States

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27         1 Rule 33(b)(1) provides that the court may not grant a motion
      for a new trial while an appeal is pending. Fed. R. Crim. Proc.
28    33(b)(1). The court can deny a motion, but it cannot grant a motion
      until the appellate court remands the case.
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1     v. George, 420 F.3d at 1000 (9th Cir. 2005) (new trial motion denied

2     under Rule 33(b)(1)); citing, United States v. Kulczyk, 931 F.2d 542,

3     549 (9th Cir. 1991) (holding “evidence that would merely impeach a

4     witness cannot support a motion for new trial.”).

5          Defendant’s Motion fails to even address this standard.            In the

6     first instance, defendant has submitted no competent evidence to

7     support its request for a new trial.        It has offered only

8     declarations from two attorneys and Mark “Menace” Torres, which

9     themselves attach e-mails, text messages and videos purported to
10    feature or have been created by David Santillan and his wife.            See
11    Declarations attached to Defendant’s Motion.         These out of court
12    statements by persons other than the declarants are inadmissible
13    hearsay that cannot support a new trial motion.          Fed. R. Evid. 801;
14    United States v. Felix, 425 F.2d 240, 242 (9th Cir. 1970) (new trial
15    motion denied where “evidence” submitted “was principally hearsay and
16    therefore inadmissible.”); Wilke v. United States, 422 F.2d 1298,
17    1299, n. 1 (9th Cir 1970) (per curiam) (“This information was of
18    course hearsay and as such provided no support for a new trial

19    motion[.]”); Wagner v. United States, 118 F.2d 801, 802 (9th Cir.

20    1941) (affidavits consisting “largely of hearsay statements and of

21    impeachment of testimony received in the trial” did not meet the

22    standard for a new trial motion); United States v. Chappell, 990 F.3d

23    673, 677-78 (8th Cir. 2021) (questioning whether unverified

24    allegations could qualify as new evidence to support a new trial

25    motion); United States v. Chapman, 851 F.3d 363, 382 (5th Cir. 2017)

26    (representations from defense counsel were “inadmissible hearsay and

27    a motion for new trial may not be based on inadmissible evidence.”).

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1     Hence, the motion fails to satisfy the first essential element since

2     it is not supported by admissible evidence.

3          Moreover, the allegations in the Motion are not true.

4     Defendant’s brief asserts that “Throughout the proceedings, Santillan

5     was [an] agent of the government who controlled the Mongols

6     litigation, including the defense witness list, in order to advantage

7     the government” and that “in exchange for their cooperation,

8     Santillan and his wife’s acts of misconduct were ignored by the legal

9     system.   They were allowed to walk free from charges of assualt
10    [sic], weapons charges, and driving under the influence.”
11    Defendant’s Motion at 6.      It further states that “neither Santillan
12    nor the government revealed his dual role.”         Id.   However, defendant
13    offers no competent witness testimony or admissible evidence to
14    support any of these allegations, and the allegations are false.                See
15    Declaration of John Ciccone, attached hereto.
16         Just as defendant has failed to produce any actual admissible
17    evidence, it has utterly failed to establish any of the other
18    elements necessary for a new trial motion – i.e., that the Motion

19    should be considered timely; that it has been diligent; that the

20    alleged evidence is material, and not cumulative or impeachment

21    evidence; and that a new trial would result in an acquittal.            United

22    States v. George, 420 F.3d at 1000.        Defendant alternatively asserts

23    (again, without admissible evidence in support of the contention)

24    that the government improperly had access to its defense strategy.

25    This appears to be a reference to the defendant’s witness lists,

26    because that is the only “strategy” described in its Motion.            See

27    Defense Motion at 3, 6.      Specifically, defendant asserts that

28    Santillan did not want to testify and would not permit trial counsel

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1     to include him, Roger Pinney, or ATF Agent Ciccone on the defendant’s

2     witness list.    Defendant’s Motion at 3:1-4.       Defense counsel’s

3     assertion that Santillan controlled the defense appears dubious,

4     since Santillan was not an attorney or counsel of record, and neither

5     his presence nor direct involvement was required under the Federal

6     Rules, 2 the inaccuracy of the representation itself is demonstrated

7     by the fact that Agent Ciccone’s name is on defendant’s Witness

8     Lists, along with 40 to 50 other names.        (CR 435, 436).      This claim

9     is further undermined by counsel’s own statement that he believed
10    Roger Pinney, if called, would have invoked his 5th Amendment right
11    against self-incrimination and refused to testify.          See Exhibit 4 to
12    Yanny Declaration, attached to Defendant’s Motion. 3           The same exhibit

13    also indicates that Santillan was included on the list only “if at

14    some point we needed to call you for anything.”          Id.     Hence, the

15    statements in defendant’s own exhibit actually subvert its argument

16    that the inclusion of names on the lists were material to trial

17    issues, not cumulative or impeaching (especially given the very long

18    list of other witnesses), or would have “probably resulted in an

19    acquittal.”    See, United States v. George, 420 F.3d at 1000.

20         Also, apart from its repeated assertions, defendant has not made

21    any showing that its witness lists were actually shared with the

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           2 Rule 43(b)(2) provides that the defendant need not be present
23    when “[t]he defendant is an organization represented by counsel who
      is present.” Fed. R. Crim Proc. 43(b)(2). Defense counsel,
24    nonetheless, repeatedly states that Santillan “controlled” or was
      “the controlling member of the defense team.” Yanny Decl., ¶¶ 8, 9.
25
           3 Exhibit 4 includes the statement, “Roger has already indicated
26    that he will simply refuse to testify and claim his 5th Amendment
      Right to silence. I don’t want that so I will not likely even try to
27    call him. However, leaving him on the list makes the Feds shy away
      from him which is desirable. Additionally, I have “Secret” who can
28    give me what I really need from Roger about Laughlin in any event.”
      Yanny Decl., Exh. 4.
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1     government or that the government learned about them, other than when

2     the lists were publicly filed.       Defendant’s Motion at 9-10. 4      The

3     claim also makes no sense, because defendant actually requested

4     assistance from government agents to help it secure the appearance of

5     its witnesses at trial.

6          Additionally, given the fact that the witness lists were

7     submitted in 2018, defense counsel is referring to incidents dating

8     back as far as 2011, and defendant acknowledges having received the

9     inadmissible hearsay videos upon which it so heavily relies more than
10    six months ago (See Yanny Decl. ¶¶ 15-28) but waited until just days
11    before the expiration of the three-year deadline under Rule 33(b)(1)
12    to file the Motion.     This delay also demonstrates “a lack of
13    diligence on defendant’s part.”       United States v. Kulycyk, 931 F.2d
14    at 548 (“The appellant’s failure to inform the judge before or at
15    least during the trial that he was unable to locate two witnesses
16    indicates a lack of due diligence.”).
17         Further, despite mentioning three witnesses (two of whom
18    apparently refused to testify), defendant has described no testimony

19    that would have resulted in an acquittal.         United States v. George,

20    420 F.3d at 1000.     Defendant has merely provided names of witnesses

21    it did not actually intend to call, or whom, if called, would have

22    refused to testify. 5    Names of previously known potential witnesses

23    are not evidence, and the assertion that defense counsel may have

24    wanted them to testify would not actually affect the outcome of the

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26         4 The witness lists were publicly filed, and witnesses were
      required to be identified before the next court day. (CR 222, 253).
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           5 Defendant actually obtained writs to compel the appearance of
28    multiple witnesses who invoked their 5th Amendment right against
      self-incrimination.
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1     trial, much less result in an acquittal.         That conclusion is likely

2     even more compelled in this case, because, in this case, the jury

3     here heard weeks of testimony from dozens of witnesses about the

4     unending crimes of the defendant.         Among others, the jury heard

5     testimony from retired Special Agent Kozlowski and other undercover

6     ATF agents Gaioni, D’Angelo, and Carr.        The jury also heard extensive

7     testimony from retired ATF agents William Queen and Jay Dobyns.            This

8     testimony included descriptions of murders, shootings, stabbings, an

9     actual scalping (supported by photographic evidence), riots,
10    narcotics transactions, and attacks on police officers.           The jury
11    watched numerous videos of shootings and stabbings committed by
12    Mongols members and associates.       It heard Christopher Ablett testify
13    directly about how he killed the president of the Hells Angels in San
14    Francisco, and testimony about a man who was beaten to death with a
15    pool cue in a bar in Lancaster, and another who was stabbed to death
16    in Merced.    It watched surveillance video of a Mongol member slashing
17    a victim’s face, and another man who was ambushed leaving a
18    restaurant, beaten unconscious and kicked in the head as he lay

19    helpless at the feet of Mongols members and associates.           The jury saw

20    and heard members of defendant’s leadership, including its then-

21    national president boasting of the gang’s well-earned reputation for

22    violence and mayhem, and the importance of expanding the scope of

23    that reputation throughout the world.        It saw methamphetamine, guns,

24    knives, and bullets sold and used by the gang.          It learned that the

25    Mongols have an actual skull and crossbones murder patch, and it saw

26    the murder patch and heard testimony that the patch was awarded to

27    members who killed for the organization.         It saw their “wings”

28    patches and “Respect Few Fear None” patch.         It heard about

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1     racketeering and conspiracy many, many times over, and, ultimately,

2     the jury convicted the defendant of both racketeering and conspiracy

3     to commit racketeering, because it saw and heard direct evidence from

4     numerous witnesses –- including witnesses called by defendant -- that

5     showed defendant had been committing those crimes for decades.

6     Defendant has offered nothing here, not even argument, to meet its

7     burden to show that a new trial would result in acquittal.            It has

8     not offered admissible evidence, and it has not met the standard for

9     a new trial.    Its Motion is insufficient and must fail.
10          As stated, defendant’s motion is not supported by admissible

11    evidence.    Its assertions are untrue, and it fails to demonstrate a

12    basis to overcome the evidence and testimony presented at trial or

13    set aside the jury convictions in this case.          The motion should be

14    stricken, based on its lack of evidentiary support, or denied.

15       IV.   CONCLUSION

16          As set forth herein, the United States respectfully submits that

17    defendant has not met its burden to support a new trial.            The Motion

18    should be stricken or denied.

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20     Dated: February 7, 2022              Respectfully submitted,

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